 Case:18-05288-EAG11 Doc#:322 Filed:02/20/20 Entered:02/20/20 11:51:14      Desc: Main
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 1                       IN THE UNITED STATES BANKRUPTCY COURT FOR
                                 THE DISTRICT OF PUERTO RICO
 2

 3
     IN RE:                                    CASE NO. 18-05288-EAG11
 4    SKYTEC INC                               Chapter 11

 5

 6
     XX-XXXXXXX
 7
                     Debtor(s)                    FILED & ENTERED ON FEB/20/2020
 8

 9                                             ORDER

10            Per the court's order at docket #313, taking into account the debtor's

11   supplement to the Second Amended Plan at docket #315 and Logistic's accepting

12   ballot at docket #320, the Second Amended Plan at docket #250, as supplemented

13   at docket #315, is hereby confirmed. A separate confirmation order will be

14   entered.

15         IT IS SO ORDERED.

16         In Ponce, Puerto Rico, this 20 day of February, 2020.

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